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                            Exhibit 6
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     Google Chat Retention Policy
     Poiicy last updated: November '18, 2020




     Chat Retention
     BANNER: The 18-month retention rule for Rooms in Chat is now LIVE. We expect it to take up to 3-4
     days from the Nov. 18 launch for the changes to roll out to all Rooms at Google.


     Changes to Chat retention
     The timing of the Chat in Gmail migration provided an ideal opportunity to implement the updated
     retention policy for Rooms messages, announced earlier this year - with Rooms messages switching to
     a standard 18 month retention period in sync with the larger Alphabet migration in November. See
     below for more details and direct questions to chat-help@.


     When I send or receive a message, how long is it kept?

       Previous (before 11/18120)                                  Current


       . 24 hours if message history is off (default)              .   No change 24 hours if message history is off

                                                                       (default)



       • 30 days if message history is on and you are:             • 30 days if message history is on and you are:
          . Chatting with just one other person or                     . Chatting with just one other person
          . Chatting in a group of people (without a topic name)       18 months if message history is on and you are:
            or                                                         . Chatting in a new Google Chat flat (non-
          . Chatting in a named group chat that was started in           threaded) room*
            old classic Hangouts


       . Indefinitely if you are chatting in a new Google Chat     . 18 months if you are chatting in a new Google
         room                                                          Chat threaded room




     *30 days if chatting in a flat room that was created in classic Hangouts before 11/18/20




     What's already changed and what does the roadmap look like?

     May:20:20
     • Bug fixed that caused some group Chat messages (one or more users on classic Hangouts) to be
       retained indefinitely.

     June 20:20
     • Process created to enable Googlers to set their ovvn history default setting to on or off. See belovv
       for details on how to change your history defaults.

     November 20:20
     • Chat rooms in which all Googlers are using the newer Google Chat platform will retain messages for
       18 months (versus indefinitely before 11/18/20) when history is turned "on".


     How does History On/Off work?
     Each chat message can be sent with History on or off




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     History Off messages expire and are deleted after 24 hours -- these Chat messages are intended for
     quick, short-term conversations which you will not need to refer back to.

     The on/off history status for a conversation is determined by the person who starts the conversation.
     In Google today, everyone has history off by default so if you start a new conversation that you want
     to keep, you should turn the history on.


     How can I change my history defaults?
     If you wish to change your personal default setting so that your messages have History On by default,
     you can do so by joining g/chat-history-default-on. Once you have joined this group, any 1:1 or group
     chat that you create will start with history on.

     If you need even longer retention, we recommend you try Chat Rooms which will offer 18 month
     retention of messages.

     Hopefully that menu of options (24 hours, 30 days, and 18 months) offers the flexibility to select vvhich
     conversation type and history setting is right for you.


     Hey lawyercat, why do we only retain messages for limited periods?
     Google's success depends on making sure that we safeguard our information, keep critical business
     content for the appropriate amount of time, and discard materials that are no longer necessary. I/Ve do
     this by keeping only timely, meaningful and useful data, while reducing redundant, obsolete, or trivial
     information, such as chat messages not intended to be kept past their initial transmission {similar to a
     telephone call or in-person conversation).


     Learn more atgo/records-retention or email the team at records-retention@.




HIGHLY CONFIDENTIAL                                                                                              GOOG-AT-MDL-009709521
